                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                     ATHENS DIVISION

UNITED STATES OF AMERICA,                     :
                                              :
        v.                                    :              Case No. 3:21-CR-9
                                              :
CEDDRICK DEMON MERCERY,                       :
                                              :
        Defendant.                            :
                                              :

                   SUMMARY OF TESTIMONY OF EXPERT WITNESS
             FBI FIREARM AND TOOLMARK EXAMINER BRYCE ZIEGLER

        The United States will offer expert testimony from witness FBI Firearm and Toolmark

Unit Examiner Bryce Ziegler (“Examiner Ziegler”). As part of his official duties with the FBI,

Examiner Ziegler has been assigned to the FBI Laboratory’s Firearms/Toolmarks Unit in

Quantico, VA, since February 2015. Prior to working in the Firearms/Toolmarks Unit, Examiner

Ziegler worked from August 2011 to February 2015 as a Biologist assigned to the FBI’s DNA

Database Unit in Quantico, VA. Examiner Ziegler has a Bachelor of Science (B.S.) in Forensic

Science from Pennsylvania State University. Furthermore, he has testified several times in both

state and federal courts as an expert in the areas of Firearms Identification, Firearms Function,

and Shooting Incident Reconstruction. Examiner Ziegler’s curriculum vitae (“CV”) outlining his

qualifications is attached hereto as “Government Exhibit A.” As required by Rule 16 of the Federal

Rules of Criminal Procedure, the following is a summary of what Examiner Ziegler will testify about

at the trial of the above-styled case:

        Examiner Ziegler will testify that he was provided and examined 12 cartridge casings

(Items 1-12), which he compared to a KelTec 9mm pistol, Model: P-11, Serial Number:

AA8B64 (Item 13) to determine if the cartridge cases (Items 1-12) were fired from the KelTec
pistol (Item 13). Examiner Ziegler identified six cartridge cases (Items 1-6)1 as being fired from

the KelTec pistol (Item 13). Examiner Ziegler eliminated six cartridge cases (Items 7-12) as

being fired from the KelTec pistol (Item 13). A copy of Examiner Ziegler’s expert findings (his

official FBI report) is attached hereto as “Government Exhibit B” and is incorporated by

reference herein and made a part hereof.

       RESPECTFULLY SUBMITTED, this 29th day of July, 2022.



                                                     PETER D. LEARY
                                                     UNITED STATES ATTORNEY
                                                     MIDDLE DISTRICT OF GEORGIA

                                                     /s/ Michael D. Morrison
                                                     MICHAEL D. MORRISON
                                                     Assistant United States Attorney
                                                     Georgia Bar No. 153001
                                                     United States Attorney’s Office
                                                     Middle District of Georgia
                                                     Post Office Box 1702
                                                     Macon, Georgia 31202-1702
                                                     Telephone: (478) 752-3511
                                                     E-mail: Mike.Morrison@usdoj.gov




1
 Items 1 and 2 are Federal ammunition brand 9mm cartridge cases which were test fired at the
FBI laboratory from the KelTec pistol (Item 113). The KelTec pistol was seized by ACCPD
Ofc. Blackmon on August 21, 2019, on Spring Circle in Athens following a vehicle and then foot
pursuit of Defendant. Items 3-6 are Prvi Partizan (PPU) ammunition brand 9mm cartridge cases,
which were collected from Langford Court in Athens on August 18, 2019. Items 7-12 are
Remington and Aguila ammunition 9mm cartridge cases, which were also collected from
Langford Court on August 18, 2019.
                                  CERTIFICATE OF SERVICE

        I, Michael D. Morrison, hereby certify that on the 29th day of July, 2022, I electronically

filed the Summary of Testimony of Expert Witness FBI Firearm and Toolmark Examiner Bryce

Ziegler with the Clerk of the Court using the CM/ECF system which will send notification of such

filing to the attorney(s) of record.



                                                     PETER D. LEARY
                                                     UNITED STATES ATTORNEY
                                                     MIDDLE DISTRICT OF GEORGIA

                                                     /s/ Michael D. Morrison
                                             BY:     Michael D. Morrison
                                                     Assistant United States Attorney
                                                     Georgia Bar Number 153001
                                                     United States Attorney’s Office
                                                     Middle District of Georgia
                                                     Post Office Box 1702
                                                     Macon, Georgia 31202-1702
                                                     Telephone: (478) 752-3511
                                                     Fax: (478) 621-2655
                                                     Email: Mike.Morrison@usdoj.gov
